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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON, TEXAS

 UNITED STATES OF AMERICA                    §
                                             §
 vs.                                         §    CRIMINAL NO. 4:17-cr-00284
                                             §
 MARY MOSLEY, ET AL.                         §
                                             §
                                             §

                             APPEARANCE OF COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

        PLEASE TAKE NOTICE that Wilvin J. Carter of The Law Offices of Wilvin J. Carter

P.C., 7324 Southwest Freeway, Tower 2, Suite 985, Houston, Texas 77074, Telephone (713)

454-9890, Facsimile (855) 380-3795, hereby enters an appearance on behalf of Defendant Mary

Mosley.

                                   Respectfully submitted,

                                   THE LAW OFFICES OF WILVIN J. CARTER P.C.
                                   7324 Southwest Freeway
                                   Tower 2, Suite 985
                                   Houston, Texas 77074
                                   Telephone 713.454.9890

                                    By: /s/ Wilvin J. Carter
                                      Wilvin J. Carter
                                       State Bar No. 24045622
                                      Attorney for Mary Mosley
